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 10    and Skyline Market, Inc.
 11
                          UNITED STATES DISTRICT COURT
 12
                        SOUTHERN DISTRICT OF CALIFORNIA
 13

 14
       IN RE: OUTLAW LABORATORIES,                Case No. 3:18-cv-840-GPC-BGS
 15    LP LITIGATION
                                                  CLASS ACTION
 16
                                                  AMENDED COUNTERCLAIMS
 17                                               OF ROMA MIKHA, INC. AND
 18                                               THIRD-PARTY CLAIMS OF
                                                  NMRM, INC. AND SKYLINE
 19                                               MARKET, INC.
 20                                               JURY TRIAL DEMANDED
 21

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                                                  AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                                               CLAIMS
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  1         Pursuant to the Court’s Order of November 27, 2018 and Federal Rules of
  2   Civil Procedure 13(a) (Compulsory Counterclaim) and 14(a) (Third-Party Practice),
  3   Defendant-Counterclaimant Roma Mikha, Inc. hereby amends its counterclaims
  4   against Outlaw Laboratory, LP, and Third-Party Plaintiffs NMRM, Inc. and Skyline
  5   Market, Inc. hereby amend their third-party claims against Outlaw Laboratory,
  6   LP—a member of the association-in-fact Racketeer Influenced and Corrupt
  7   Organizations Act (“RICO”) enterprise described below.
  8     THE STORES’ COUNTERCLAIMS AND THIRD-PARTY COMPLAINT
  9         These counterclaims and third-party claims are brought by Roma Mikha,
 10   Inc., NMRM, Inc., and Skyline Market, Inc. (together, the “Stores”), on behalf of
 11   themselves and all other victims of the scheme to defraud that is described herein.
 12   The Stores allege as follows:
 13                                    INTRODUCTION
 14         1.     As will be seen, the “litigation” that is being pursued by Outlaw
 15   Laboratory and the other members of its enterprise is a scheme to defraud small
 16   businesses, reminiscent of the racket that was run by the now disbarred attorneys
 17   who operated the Trevor Law Group in the early 2000s, or the lawyers and straw
 18   men who ran Prenda Law, Inc.
 19         2.     Here, Plaintiff Outlaw Laboratory—evidently an online-only seller of
 20   “supplements” based in Texas—uses Los Angeles-based law firm Tauler Smith
 21   LLP to send demand letters to small (almost always immigrant-run) independent
 22   corner stores and liquor stores, threatening the owners for selling over-the-counter
 23   “sexual enhancement pills.” The demand letter outlines objectively frivolous
 24   claims against the owner for violations of the federal RICO and Lanham Act
 25   statutes, claims that “you are liable for over $100,000 if we prosecute this matter,”
 26   and then offers to “settle” the phony dispute for varying amounts around $10,000.
 27         3.     If the owner doesn’t respond, Outlaw offers increasingly smaller
 28   settlements. In Roma Mikha’s case, for example, Outlaw’s demand letter
                                                             AMENDED COUNTERCLAIMS / THIRD-
                                                 1
                                                                             PARTY CLAIMS
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  1   threatened liability of “over $100,000,” and offered $14,000 to settle. A few weeks
  2   later, it conveyed through a third-party lawyer an offer of just $2,800. Obviously
  3   99% of rational business-persons (especially immigrants with a first language other
  4   than English) are not going to hire a lawyer at $300-500/hour to defend against
  5   such a tiny demand, so hundreds of stores around the country have coughed up the
  6   money.
  7                                     BACKGROUND
  8         4.     Outlaw Laboratory and the other members of an association-in-fact
  9   enterprise (hereafter, the “Outlaw Enterprise”) have struck upon a get-rich-quick
 10   scheme. The scheme operates by the members sticking up small, immigrant-run
 11   businesses across California and around the country, with the threat that “you are
 12   liable for over $100,000 if we prosecute this matter to a jury trial,” and then
 13   accepting protection money (“settlements”) from these small business owners in
 14   amounts as little as $2,500.
 15         5.     The Outlaw Enterprise operates in the same mode as the “protection
 16   rackets” in the movies. It sends heavies (whom it labels “investigators”) to the
 17   victims’ small corner stores to identify potential targets, and then conveys the
 18   message: “This is a real nice store you got here; it’d be a shame if something
 19   happened to it.” And then just like the mob bosses, the Outlaw Enterprise offers to
 20   solve that “problem” if the store owner is willing to fork over money for
 21   protection—protection from the problem that the enterprise itself is threatening.
 22         6.     Whether the perpetrators are armed with law degrees or blackjacks,
 23   this type of conduct is exactly the form of racket that the Racketeer Influenced and
 24   Corrupt Organizations Act (“RICO”) was designed to quash, through creating a
 25   private right of action for the racketeers’ victims. Because the members of the
 26   Outlaw Enterprise used the U.S. mails in conducting this “scheme to defraud”—
 27   committing thousands of predicate acts of mail fraud over a period of many
 28   months—they are liable for disgorgement of their ill-gotten gains, three times the
                                                      AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  2
                                                                                   CLAIMS
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  1   damages they caused, and an injunction ordering dissolution of the Outlaw
  2   Enterprise.
  3                              Warning Letter and Response
  4         7.      In an effort to protect the Stores and future victims of the Outlaw
  5   Enterprise, undersigned counsel sent a detailed letter to Outlaw’s counsel on
  6   August 9, 2018, explicitly disavowing any financial demand either for themselves
  7   or their clients, and proposing that the Outlaw Enterprise keep what it has extorted
  8   so far, but demanding that it cease future stick-ups. Eleven minutes later, Robert
  9   Tauler (Outlaw’s lead attorney and a not-yet-named member of the Outlaw
 10   Enterprise) flippantly responded:
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 20         8.      The research having been done, Roma Mikha, Inc., NMRM, Inc., and
 21   Skyline Market, Inc. now bring these claims on behalf of themselves and all other
 22   victims of the Outlaw Enterprise, for restitution, damages, and an end to the
 23   scheme.
 24                                     JURISDICTION
 25         9.      The Court has jurisdiction over the Stores’ claims under 28 U.S.C.
 26   § 1331, because they arise under a federal statute, the Racketeer Influenced and
 27   Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(c) and (d).
 28
                                                      AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  3
                                                                                   CLAIMS
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  1         10.     The Court has personal jurisdiction over Counterclaim-defendant /
  2   third-party defendant Outlaw Laboratory, LP because—although it does not appear
  3   to be an entity that is registered to do business in California—it voluntarily
  4   appeared in this District by bringing its claims here.
  5                                         PARTIES
  6         11.      Counterclaimant Roma Mikha, Inc. does business as Bobar #2 Liquor,
  7   and operates a small store located at 1777 Palm Avenue, San Diego, California.
  8   The store is a typical corner store, selling the full array of products that one would
  9   expect to find at any convenience store.
 10         12.     Third-party Plaintiff NMRM, Inc. does business as Sunset Liquor,
 11   which operates out of a small strip mall located at 985 Broadway, Chula Vista,
 12   California. Like Bobar #2, Sunset Liquor is a typical corner store, selling the full
 13   array of products that one would expect to find at any convenience store.
 14         13.     Third-party Plaintiff Skyline Market, Inc. does business as Skyline
 15   Farms Market, which operates out of a retail store located at 1505 Skyline Drive,
 16   Lemon Grove, California. Like the others, Skyline Market is a small retail store
 17   that sells an array of food, beverage, and sundry products.
 18         14.     On information and belief, counterclaim-defendant / third-party
 19   defendant Outlaw Laboratory, LP is a Texas business entity, which markets a
 20   variety of supplements. Outlaw alleges that it sells “male enhancement products”
 21   called TriSteel and TriSteel 8hour.
 22                              FACTUAL ALLEGATIONS
 23               A. The FDA Advises Consumers to Avoid the Sexual Enhancement
                     Products.
 24

 25         15.     This litigation was spawned by a series of “Public Notification[s]” that
 26   have been issued by the FDA beginning in March 2015, alerting the public that the
 27   “sexual enhancement” products seen near the front of liquor stores and convenience
 28
                                                      AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  4
                                                                                   CLAIMS
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  1   stores may contain “sildenafil,” the active prescription in Viagra.1 Rather than
  2   banning the sale of the products at issue, the FDA’s “public notifications” merely
  3   say that the agency “is advising consumers not to purchase or use [product name], a
  4   product promoted for sexual enhancement.” See, e.g., https://www.fda.gov/Drugs/
  5   ResourcesForYou/Consumers/BuyingUsingMedicine Safely/MedicationHealth
  6   Fraud/ucm615213.htm (“Public Notification” for something called “Gold Rhino
  7   25000”).
  8         16.    Documents obtained from the FDA demonstrate that not all of the
  9   “sexual enhancement pills” at issue contain sildenafil, or any other prescription
 10   drug. While two of the three lab analyses included in the FDA’s FOIA response
 11   indicated the presence of sildenafil, the third did not. Attached hereto as Exhibit B
 12   is the lab analysis performed by the FDA on that third sample of “Platinum 3000,
 13   Rhino 7.” According to the FDA’s “Summary of Analysis,” “[t]he presence of a
 14   male enhancement adulterant could not be confirmed by LC-MS analysis.”
 15         17.    There exists no reliable or comprehensive data as to what proportion of
 16   any of the various SKUs of sexual enhancement pills at issue in Outlaw
 17   Laboratory’s claim against the Stores actually contain sildenafil or any other
 18   prescription drug. Nor are the Stores aware of any “lot numbers” or other
 19   originating information that could be used to segregate the pharmaceutical-
 20   containing pills from the adulterated pills.
 21         18.    More to the point, Outlaw Laboratory’s complaint makes no allegation
 22   as to how it might be able to prove that any package offered for sale by any of these
 23   three Stores—or offered by any other specific store in the class—in fact contained
 24   any prescription drug.
 25         19.    The Outlaw Enterprise’s inability to prove any violation of law by the
 26
            1
 27         A full list can be found at: https://www.fda.gov/Drugs/ResourcesForYou
      /Consumers/BuyingUsingMedicineSafely/MedicationHealthFraud/ucm234539.htm
 28
                                                         AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                     5
                                                                                      CLAIMS
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  1   Stores and members of the class explains why they are offering de minimis
  2   settlements as part of their fraudulent scheme, and illustrates the objective
  3   baselessness of the shakedown scheme to begin with.
  4         20.    Notably, neither the FDA nor any other regulator has banned, or
  5   otherwise declared it “illegal” for retail stores merely to sell these products. Indeed,
  6   as recently as November 27, 2018, the FDA issued a press release that does nothing
  7   more than repeat that “[t]he U.S. Food and Drug Administration is warning
  8   consumers not to purchase or use Rhino male enhancement products.”2 The FDA
  9   has not issued a recall of any of the sexual enhancement products at issue in this
 10   case, nor has it issued any order that retail stores must discontinue selling them.
 11         21.    That is because sildenafil is hardly a dangerous pharmaceutical—it is
 12   sold over the counter in the United Kingdom, and is currently under consideration
 13   for over-the-counter sales in the United States. The Stores anticipate that as
 14   discovery progresses, the Outlaw Enterprise will be unable to identify even a single
 15   adverse health event caused by any of the products upon which the stick-up scheme
 16   described herein is predicated, and certainly none resulting from any sale by these
 17   Stores or any other member of the class.
 18         22.    Convenience store owners of course have no idea what is contained in
 19   these products, any more than they know the list of ingredients found in cigarettes,
 20   Coca-Cola, or 5-Hour Energy, let alone the hundreds of other items they stock on
 21   their shelves. Outlaw has not alleged, nor will it be able to find authority for, the
 22   notion that store owners have some statutory or common law duty to investigate the
 23   actual ingredients in all of their merchandise, nor a duty to monitor the bowels of
 24   the FDA’s website (let alone those of the dozens of other regulators with purview
 25   over the stores’ wares) to see what regulatory agencies are saying about the items
 26
            2
 27         https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/
      ucm626723.htm
 28
                                                      AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  6
                                                                                   CLAIMS
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  1   on their shelves, and what “advice” the FDA is offering to consumers.
  2               B. Members of the Outlaw Enterprise Hatch a Scheme to Run a
                     Shakedown Against a Vulnerable Community of Victims.
  3

  4         23.      Since at least December 2017, and continuing through the present, the
  5   Outlaw Enterprise has preyed upon hundreds of independently operated
  6   convenience store owners—including the Stores here, and all members of the class
  7   they seek to represent—by sending them demand letters that threaten “over
  8   $100,000” in liability, based upon a series of false and misleading statements. A
  9   sample of the form letter sent by the Outlaw Enterprise (addressed to the d/b/a of
 10   Third Party Plaintiff NMRM, Inc.) is submitted as Exhibit A to this pleading.
 11         24.      The first paragraph of the form letter refers to two “Exhibits”: an
 12   “Exhibit A” consisting of a photo of the product allegedly in the recipient’s store,
 13   and an “Exhibit B,” consisting of one or more of the FDA’s “Public Notifications”
 14   described above. The letters then make a series of false and misleading statements,
 15   including:
 16               • “your company [insert name] is selling illegal sexual enhancement
 17                  products;”
 18               • “Attached as EXHIBIT B are notices from the Food and Drug
 19                  Administration regarding the illegality of the Illicit Products;”
 20               • “As you can see, the Illicit Products are illegal to sell;”
 21               • “As you can see, the Illicit Products . . . subject your company to legal
 22                  action for racketeering . . . under RICO (Racketeer Influenced Corrupt
 23                  Organizations);”
 24               • “[u]nder these federal laws our client is entitled to: [inter alia] Your
 25                  profits from the sale of the Illicit Products dating back four years . . .
 26                  Attorney’s fees . . . Punitive damages . . . Triple [sic] damages . . .”
 27               • “We estimate that you are liable for over $100,000;”
 28               • “If this matter is not fully resolved before [a date typically 30 days out]
                                                         AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                     7
                                                                                      CLAIMS
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  1                we file [sic] a lawsuit against your business.”
  2         25.    None of those statements were true when made, and they are all
  3   misleading. The products are not “illegal to sell,” let alone “as you can see” from
  4   the referenced FDA “notifications.” As noted, the FDA’s notifications do nothing
  5   more than “advis[e] consumers not to purchase” the product. But if the enterprise’s
  6   letter stated the true fact that the FDA is merely advising consumers not to purchase
  7   the products, the letters would lose their intent to induce fear in these immigrant
  8   communities, and the scheme would lose its effectiveness. Accordingly, after
  9   planting the “illegal to sell” seed, the scheme to defraud proceeds with a parade of
 10   horribles, including RICO litigation, and financial ruin.
 11         26.    The Outlaw Enterprise’s scheme is intentionally designed to be
 12   particularly misleading to its target audience, which consists almost exclusively of
 13   (as typified by the three Stores here) immigrants for whom English is not their first
 14   language. Particularly for immigrants, the Enterprise’s false representations about
 15   make-believe government dictates of “illegality” are terrifying.
 16         27.    The threat of RICO liability is further false and misleading in that, on
 17   information and belief, the Outlaw Enterprise has never actually sued any store
 18   under RICO, because any lawyer of ordinary skill knows that there is not even a
 19   colorable claim for RICO liability against these stores.
 20         28.    The assertion of imminent RICO liability is knowingly false when
 21   made. The usual signatory on the demand letters is Leticia Kimble (an as-yet-
 22   unnamed member of the Outlaw Enterprise who works as “counsel” to the as-yet-
 23   unnamed member Tauler Smith LLP, on whose letterhead the fraudulent letters are
 24   written). A 2008 graduate of the University of Michigan Law School, Ms. Kimble
 25   holds herself out to be a “RICO expert.” See https://www.taulersmith.com/team/.
 26   Any “RICO expert” knows both that the RICO threats are legally laughable, but
 27   terrifying to a lay person, especially the lay members of this target audience.
 28         29.    Viewed differently, the attorney members of the Outlaw Enterprise
                                                      AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  8
                                                                                   CLAIMS
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   1   evidently recognized that stating RICO allegations to the Court would violate Rule
   2   11. They nevertheless made those same allegations directly to their victims, which
   3   caused hundreds of such victims to fork over a few thousand dollars each, because
   4   of this scheme.
   5         30.    Roma Mikha, Inc. received, by U.S. Mail, the fraudulent demand letter
   6   authored by one or more participants in the Outlaw Enterprise, and signed by
   7   Leticia Kimble, on or about February 7, 2018. It was sued in this action on July 25,
   8   2018, but has not yet been served with summons. Roma Mikha has suffered an
   9   injury to its business because it initially believed the demand letter’s false
  10   assertions, and removed these legal products from its shelves, thereby losing
  11   legitimate sales.
  12         31.    NMRM, Inc. received, by U.S. Mail, the fraudulent demand letter
  13   authored by one or more participants in the Outlaw Enterprise, and signed by
  14   Leticia Kimble, on or about December 15, 2017. On information and belief,
  15   NMRM, Inc. has not been sued as part of the scheme. NMRM has suffered an
  16   injury to its business because it initially believed the demand letter’s false
  17   assertions, and removed these legal products from its shelves, thereby losing
  18   legitimate sales.
  19         32.    Skyline Market received, by U.S. Mail, the fraudulent demand letter
  20   authored by one or more participants in the Outlaw Enterprise, and signed by
  21   Leticia Kimble. Fearful of the prospect of facing “over $100,000” in liability as
  22   threatened, Skyline Market agreed to pay the Outlaw Enterprise $2,800. In addition
  23   to that amount, Skyline Market suffered further injury to its business because it
  24   believed the demand letter’s false assertions, and removed these legal products
  25   from its shelves, thereby losing legitimate sales. Skyline Market has been further
  26   injured by paying attorneys’ fees to coordinate payment of the protection money.
  27         33.    On information and belief, the Outlaw Enterprise has used the U.S.
  28   Mail to pursue the scheme against over one thousand victims around the United
                                                        AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                    9
                                                                                     CLAIMS
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   1   States, hundreds of whom are in California alone.
   2               C. The Demand Letters Threaten Objectively Baseless Sham
                      Litigation.
   3

   4         34.     The Outlaw Enterprise’s shakedown scheme alleged herein is not
   5   immunized by its First Amendment right to petition the government, because the
   6   First Amendment protects only conduct that is “genuine,” not conduct that is
   7   designed to serially extort small businesses out of money. Here, the allegations,
   8   threats, and demands set forth in the serial demand letters were not genuine, but
   9   were objectively baseless.
  10         35.     There are numerous indicators of the baselessness of the threats set
  11   forth in the demand letters. For example, as alleged in paragraph 16 supra and
  12   shown in Exhibit B, a reasonable inquiry would have shown that not all “sexual
  13   enhancement pills” contain sildenafil or any other prescription drug. The mass
  14   distribution of thousands of demand letters to random stores was thus a stickup that
  15   was not individually tailored to the recipients. Instead, it was a process that would
  16   inevitably demand payment both from stores that sold adulterated pills, and from
  17   those that did not.
  18         36.     The Outlaw Enterprise failed to conduct any individualized testing or
  19   investigation to determine which of the thousands of recipients of the demand letter
  20   actually sold or offered for sale an item that contained a prescription drug.
  21         37.     The baselessness of the letters’ threat of financial ruin from RICO
  22   liability was further objectively baseless because there was not then, nor now, any
  23   plausible basis by which Outlaw Laboratory could have pled the commission of at
  24   least two predicate acts by each individual store. The exclusive list of predicate
  25   acts that can form the basis of a RICO violation is set forth in 18 U.S.C. § 1961(1).
  26   The sale of sildenafil does not even arguably constitute any violation of any of the
  27   crimes on that list.
  28         38.     Nor could the Outlaw Enterprise have reasonably alleged mail or wire
                                                       AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  10
                                                                                    CLAIMS
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   1   fraud as predicate acts, given that there is no basis to believe that any of the Stores
   2   sold any of the products using the mails or wires. As any reasonable investigation
   3   would have shown, all of the stores acquire the products at issue over the counter
   4   from their wholesaler, and sell all of their products over the counter to walk-in
   5   customers.
   6         39.    The objective baselessness of the RICO threats is further indicated by
   7   the fact that there is no reasonable way that the Outlaw Laboratory could have
   8   plausibly alleged that the stores are members of any form of RICO enterprise. The
   9   relationship between the stores, the wholesalers, and the unknown manufacturers of
  10   the challenged products is nothing more than the standard chain of distribution,
  11   identical to the distribution of Coca-Cola, Snickers, and Wrigley’s chewing gum.
  12   Outlaw Laboratory could not have alleged any structure or agreement among even
  13   each store and one other person, let alone an Enterprise consisting of the thousands
  14   of stores that received the demand letter.
  15         40.    The objective baselessness of the RICO threats is further indicated by
  16   the fact that there is no reasonable way that the Outlaw Laboratory could have
  17   plausibly alleged that it suffered any harm that was proximately caused by the
  18   stores’ commission of any (non-existent) predicate acts. Supreme Court precedent
  19   requires the plaintiff to show how his injury was proximately caused by the
  20   commission of the (here, non-existent) predicate acts. The opinion in Anza v. Ideal
  21   Steel Supply Corp., 547 U.S. 451 (2006), for example, precludes such a showing
  22   where one business claims that it was injured by predicate acts of its competitor that
  23   were directed at third parties, which is the most that Outlaw Laboratory could
  24   allege, even if it could hypothesize that the stores committed two of the violations
  25   enumerated in section 1961(1).
  26         41.    Indeed, Outlaw Laboratory does not even transact any business in
  27   California, so it could not have lost out on any sales made by the California-based,
  28   small convenience store owners like the Stores. As of the date of this filing,
                                                         AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                    11
                                                                                      CLAIMS
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   1   Outlaw Laboratory is not registered with the California Secretary of State to do
   2   business here.
   3         42.    Another indicator of the objective baselessness of the RICO threats is
   4   that the Stores do not engage in any interstate commerce. Their customers are local
   5   neighborhood residents, and nobody would have crossed state lines to just to buy a
   6   Rhino product from them. But RICO applies only when the racketeering enterprise
   7   is engaged in, or has more than an incidental effect upon, interstate commerce.
   8         43.    As further factual development will show, the threat of Lanham Act
   9   liability was also objectively baseless under Lexmark v. Static Control Components,
  10   134 S. Ct. 1377 (2014), as the members of the Outlaw Enterprise knew or should
  11   have known at the time they sent the demand letters. That is because there has
  12   never been, and will never be, any evidence that Outlaw Laboratory ever actually
  13   lost a sale of TriSteel or TriSteel 8 Hour as a result of any store-defendant’s
  14   conduct in offering the challenged products for sale.
  15         44.    The objective baselessness of the threat of RICO liability was crucial
  16   to the effectiveness of the Outlaw Enterprise’s shakedown scheme, because the
  17   economic devastation to the small businesses that the demand letters threatened is
  18   primarily predicated upon that claim. To wit, the threatened financial ruin for each
  19   recipient of the demand letter is set forth as follows:
  20         As you can see, the Illicit Products are illegal to sell and subject your
  21         company to legal action for racketeering and unfair business practices
             under RICO (Racketeer Influenced Corrupt Organizations) and the
  22         Federal Lanham Act. Accordingly, under these federal laws our client
             is entitled to:
  23

  24

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  26

  27

  28    (See Ex. A.)
                                                       AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  12
                                                                                    CLAIMS
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   1         45.    The second item threatens that the store will be liable for Outlaw
   2   Laboratory’s “attorney’s fees” under “18 U.S.C. § 1964,” which is the RICO
   3   statute. In addition, Outlaw threatened that if the store did not cough up the money,
   4   it would be liable for “triple damages” under RICO. As set forth above, there was
   5   neither then nor now any objectively reasonable way for the Outlaw Enterprise to
   6   have believed that such threats of RICO liability were “genuine.”
   7         46.    Also objectively baseless is the threat that the stores would be liable
   8   for “triple damages” under 15 U.S.C. § 1117 if they refused to pay the ransom.
   9   Liability for treble damages under section 1117 is limited to the “knowing” use of
  10   “a counterfeit mark,” or cases in which the judge determines that “the
  11   circumstances of the case” warrant an increase in the default measure of “actual
  12   damages.” Id. On information and belief, the members of the Outlaw Enterprise
  13   knew at the time, and know now, that there has never been any basis to accuse these
  14   small stores of trading in counterfeit marks, and could not reasonably expect that a
  15   judge would treble the stores’ liability in the exercise of his or her discretion. Even
  16   if the members of the Outlaw Enterprise were deluded, such a threat was objectively
  17   baseless.
  18         47.    Finally, the chart threatens the stores with “punitive damages” under
  19   section 1117. But section 1117 specifically prohibits the imposition of money
  20   damages as a “penalty,” and well-established caselaw holds that punitive damages
  21   are not allowed under section 1117. See, e.g., Falcon Stainless, Inc. v. Rino
  22   Companies, Inc., No. 08-CV-0926-AHS-MLGX, 2011 WL 13130487, at *4 (C.D.
  23   Cal. Aug. 2, 2011).
  24         48.    In contrast to what the members of the Outlaw Enterprise knew or
  25   should have known regarding the objective baselessness of the threatened financial
  26   ruin, it was reasonable for the members of the Enterprise to expect that the
  27   immigrant proprietors of these small stores would not know the ins and outs of
  28   RICO liability and predicate acts, nor the scope of 15 U.S.C. § 1117. Indeed, it was
                                                       AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  13
                                                                                    CLAIMS
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   1   that asymmetry of knowledge and sophistication that made the stores’ so vulnerable
   2   to the Enterprise’s depredations and fraudulent statements. That is what transforms
   3   the demand letters from “genuine” petitions for relief, into sham litigation.
   4              The Objectively Baseless Threats of Financial Ruin Were the
   5               Only Thing that Made this Shakedown Scheme Effective in
                          Extorting Hundreds of Small Settlements.
   6
             49.     As the evidence is developed, it will become apparent that none of
   7
       Outlaw Laboratory’s claims was genuine, and that the entire litigation is a sham,
   8
       but the Stores’ claims are focused more directly on the fraudulent demand letters.
   9
             50.     The demand letters were effective in the Outlaw Enterprise’s
  10
       fulfillment of the fraudulent scheme precisely because of the objectively baseless
  11
       claims of financial ruin. As illustrated supra, none of the final three components of
  12
       liability threatened in the chart has any genuine basis. But the combination of those
  13
       three baseless items is the only way that the Outlaw Enterprise could have
  14
       “estimate[d] that you are liable for over $100,000 if we prosecute this matter to a
  15
       jury trial.” (Ex. A at 2.)
  16
             51.     That is, the first bullet point threatens liability only for “Your profits
  17
       from the sale of the Illicit Products.” (Id. at 1.) But Roma Mikha, for example,
  18
       made a profit of only around $3 on each packet of sexual enhancement pills it sold.
  19
       Even assuming Outlaw Laboratory could ever adduce evidence of proximate
  20
       causation sufficient to satisfy Lexmark, and assuming (contrary to fact, see Ex. B)
  21
       that every such packet contained sildenafil, and further assuming that there could be
  22
       any evidence by which to prove so, Roma Mikha’s maximum profits (and therefore
  23
       Outlaw’s maximum recovery) would have been no more than a couple hundred
  24
       dollars.
  25
             52.     The demand letters would not have yielded $2,800 - $4,000
  26
       settlements, however, if the Outlaw Enterprise had made the only “genuine” threat
  27
       that could have been alleged on these facts: “under these federal laws we estimate
  28
                                                         AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                   14
                                                                                      CLAIMS
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   1   that you will be liable for $300 if we prosecute this matter to a jury trial.” So the
   2   Outlaw Enterprise spiked the demand letters with objectively baseless
   3   misrepresentations and threats, to trick the stores into paying up several thousand
   4   dollars to avoid the financial ruin that was baselessly threatened.
   5               D. The Outlaw Enterprise Has Undertaken a Series of Lawsuits and
                      Activities Incidental to Litigation, Without Regard to the
   6
                      Individual Merits
   7
             53.     The unprotected nature of the Outlaw Enterprise’s conduct is further
   8
       illustrated by its blunderbuss conduct in distributing thousands of demand letters to
   9
       its victims, but following through on only some of those claims. NMRM, for
  10
       example, received the demand letter but has never been sued. Similarly, despite the
  11
       fact that this litigation has been pending now for nearly four months, Outlaw
  12
       Laboratory has never bothered to pursue it even through the first step of obtaining
  13
       and serving a summons on any of the 50 defendants.
  14
             54.     On information and belief, Outlaw Laboratory has distributed over one
  15
       thousand copies of the demand letter, and has filed at least six actions in different
  16
       jurisdictions. Some of the demand letters have resulted in lawsuits that have
  17
       survived the pleading stage in other jurisdictions, but that is no indication that any
  18
       individual claim has merit; it means only that if one accepts the allegations as true,
  19
       some courts have determined that Outlaw’s form pleading states a plausible claim
  20
       (at least as against whatever arguments were mustered for dismissal in the
  21
       adjudicated motions).
  22
             55.     These demands and lawsuits have been initiated without regard to the
  23
       merits. For example, when it comes time for Outlaw to present evidence as to any
  24
       particular retail store, it will be unable to trace any conduct by that store to any lost
  25
       sale of TriSteel or TriSteel 8 hour by Outlaw Laboratory. The reviewing court will
  26
       thereupon dismiss the Lanham Act claim for lack of proximate cause, resulting in
  27
       dismissal of the remaining causes of action, which are predicated upon it.
  28
                                                        AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                   15
                                                                                     CLAIMS
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   1         56.      Another example of Outlaw’s disregard for the merits of any
   2   individual claim is seen in the fact that, on information and belief, Outlaw
   3   Laboratory has not served any of the hundreds of defendants with even a single
   4   piece of written discovery.
   5         57.      Still another example that the Outlaw Enterprise knew that the claims
   6   were objectively meritless from the get-go is the fact that, once this case was
   7   removed to federal court, they continued to serve invalid state-court summons on
   8   the Stores’ co-defendants. They did this even after being informed by counsel for
   9   the Stores that such service was invalid under federal law. Such behavior
  10   demonstrates that the Outlaw Enterprise had no interest in meritoriously litigating
  11   Outlaw Laboratory’s claims, but simply was hoping to intimidate a few additional
  12   class members into reaching a quick settlement before those stores learned about
  13   the existence of these counterclaims.
  14         58.      The docket indicates that at least seven stores paid settlements to
  15   Outlaw Laboratory between the date that the Outlaw Enterprise was informed of the
  16   invalidity of the summons, and the date that the Court ordered Outlaw Laboratory
  17   to inform its victims of the summons’ invalidity. Four of these settlements appear
  18   to have been obtained even after Outlaw Laboratory admitted the invalidity of the
  19   summons by filing a non-opposition to the motion of Midway Shell to quash the
  20   summons served upon it.
  21                E. Structure and Roles of the Outlaw Enterprise
  22         59.      The Outlaw Enterprise consists of multiple members, the exact
  23   identities of whom will be obtained in discovery. The Outlaw Enterprise was
  24   created prior to December 2017, and has continuously operated its scheme since
  25   that time.
  26         60.      Outlaw Laboratory, LP, is a principal member of the Outlaw
  27   Enterprise. According to the Texas Secretary of State, Outlaw Laboratory was
  28
                                                        AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                   16
                                                                                     CLAIMS
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   1   formed in September 2016. It apparently operates out of a single retail location at
   2   6666 Gulf Freeway, in Houston, which is shown on Google Streetview to be a
   3   storefront under a sign “TF Supplements.com.” Although the fraudulent letters and
   4   the Complaint allege that Outlaw Laboratory is “a manufacturer, distributor and
   5   retailer of male enhancement products ‘TriSteel’ and ‘TriSteel 8 hour,” on
   6   information and belief, that product is not sold in any stores in this district. None of
   7   the Stores (nor other store owners with whom they have discussed the case) has
   8   either seen or heard of any such product, until seeing the fraudulent letters at issue
   9   here.
  10           61.   On information and belief, TriSteel and TriSteel 8 Hour were created
  11   as artifices upon which to found the enterprise’s scheme. For one thing, the first
  12   recorded appearance of Outlaw Laboratory’s website (per the WayBackMachine
  13   available through www.archive.org) is July 13, 2017, and as shown on Exhibit A
  14   hereto, the Outlaw Enterprise began sending the fraudulent demand letters just five
  15   months later (if not before then).
  16           62.   Public records indicate that Outlaw Laboratory is owned by enterprise
  17   members Michael Wear and Shawn Lynch. On information and belief, these
  18   individuals participate with the other members of the Outlaw Enterprise in
  19   conducting the enterprise’s affairs, including by creating “competing” products
  20   upon which to found the false advertising claims, and by working with other
  21   members to decide which geographies in which to conduct the scheme, and by
  22   signing for, and accepting receipt of the ill-gotten gains.
  23           63.   The Los Angeles law firm Tauler Smith LLP is another member of the
  24   Outlaw Enterprise. On information and belief, the firm is a partnership owned by
  25   Robert Tauler and Matthew Smith, who direct the affairs of Tauler Smith and are
  26   independent members of the enterprise in their own right. Tauler Smith’s and Mr.
  27   Tauler’s role in conducting the affairs of the Outlaw Enterprise exceeds that of
  28   mere attorney agents of the “client” Outlaw Laboratory. For example, in response
                                                       AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  17
                                                                                    CLAIMS
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   1   to the undersigned’s letter requesting that the Outlaw Enterprise curb its conduct,
   2   Mr. Smith responded on behalf of the Tauler Smith and the enterprise just 11
   3   minutes later, directing the undersigned to, “[d]o some research on our claims like a
   4   real lawyer and stop sending me stupid letters,” and advising that “[y]our
   5   accusations are a disgrace to our profession.” On information and belief, this
   6   decision to continue to pursue the affairs of the Outlaw Enterprise was done without
   7   receiving direction from either Mr. Wear or Mr. Lynch (the nominal owners of the
   8   nominal “client”). Rather, Mr. Smith’s response shows that the affairs of the
   9   enterprise are independently conducted by the law firm and its principals.
  10         64.    On information and belief, Leticia Kimble is an independent member
  11   of the Outlaw Enterprise. Tauler Smith’s website describes Ms. Kimble as “Of
  12   Counsel” to the firm, apparently operating as the “Founder of Kimble Legal
  13   Consulting.” Ms. Kimble participates and directs the affairs of the enterprise as
  14   seen in the fact that she is the signatory on the fraudulent letters, and the person
  15   who directs the victims of the scheme to “contact our office” to coordinate the
  16   necessary amount of protection money.
  17         65.    Other members of the Outlaw Enterprise include an unknown number
  18   of independently operating “investigators,” who cruise urban communities in search
  19   of potential victims, and then take photos of the victims’ storefronts and shelf
  20   space, forwarding those photos to the other members of the Outlaw Enterprise, so
  21   that the scheme can be launched against new victims.
  22         66.    As further information is developed as to the identities and roles of the
  23   enterprise members other than Outlaw Laboratory, LP, the Stores reserve their right
  24   to amend this pleading to name those persons and entities as defendants.
  25                                 CLASS ALLEGATIONS
  26         67.    The Stores bring these class claims on behalf of themselves and all
  27   other victims of the Outlaw Enterprise who have been subject to an identical pattern
  28   of racketeering activity.
                                                       AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  18
                                                                                    CLAIMS
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   1         68.    As representatives of all similarly situated business entities the Stores
   2   propose an overarching “Store Class” defined as follows:
   3                All business entities in the United States that received a
   4                demand letter substantially similar to the letter received by
                    the class representatives.
   5
             69.    Roma Mikha, Inc. further proposes certification of a subclass (the
   6
       “Sued Stores”) on behalf of itself and all similarly situated business entities,
   7
       defined as follows:
   8

   9                All business entities in the United States that received a
                    demand letter substantially similar to the letter received by
  10                Roma Mikha, Inc., and that were subsequently named as
  11                defendants in state or federal litigation brought by Outlaw
                    Laboratory, LP.
  12
             70.    NMRM, Inc. further proposes certification of a subclass (the
  13
       “Threatened Stores”) on behalf of itself and all similarly situated business entities,
  14
       defined as follows:
  15
                    All business entities in the United States that received a
  16
                    demand letter substantially similar to the letter received by
  17                NMRM, Inc., and that were not thereafter named as
                    defendants in state or federal litigation brought by Outlaw
  18
                    Laboratory, LP.
  19         71.    Skyline Market further proposes certification of a subclass (the
  20   “Payment Class”) on behalf of itself and all similarly situated business entities,
  21   defined as follows:
  22
                    All business entities in the United States that received a
  23                demand letter substantially similar to the letter received by
  24                Skyline Market, and that subsequently paid or agreed to
                    pay money to Tauler Smith LLP, Outlaw Laboratory, or an
  25                agent of either.
  26         72.    The proposed Store Class and each of the proposed subclasses are
  27   appropriate for certification under both subsections (b)(2) and (b)(3) of Federal
  28
                                                       AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  19
                                                                                    CLAIMS
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   1   Rule of Civil Procedure 23 because:
   2         (a)   The proposed classes are so numerous and geographically dispersed
   3   throughout the United States that the joinder of all Class Members is impracticable;
   4         (b)   The members of the proposed classes are readily ascertainable from
   5   the records on file with one or more members of the Outlaw Enterprise;
   6         (c)   There are numerous questions of law and fact common to the proposed
   7   classes, and those common issues of law and fact will predominate over any
   8   questions that may affect the claims of only individual members of the class. Such
   9   common questions include but are not limited to:
  10               (i)     Whether the statements made in the demand letters constitute a
  11         scheme to defraud, within the meaning of 18 U.S.C. § 1341;
  12               (ii)    Whether the members of the Outlaw Enterprise constitute an
  13         “associated-in-fact” enterprise, and whether each of the named defendants
  14         participated in conducting the affairs of the enterprise;
  15               (iii)   Whether the Outlaw Enterprise used the U.S. Mails in
  16         conducting the alleged scheme to defraud;
  17               (iv)    Whether the named-defendant members of the Outlaw
  18         Enterprise acted with a sufficiently culpable mental state to warrant liability
  19         under RICO;
  20               (v)     Whether the alleged scheme to defraud was a proximate cause
  21         of the injuries alleged by the classes;
  22               (vi)    Whether the members of the proposed Payment Class are
  23         entitled to rescind their “settlements” with the Outlaw Enterprise, and if so,
  24         whether they are entitled to restitution of the ill-gotten funds;
  25               (v)     Whether the members of the proposed classes are entitled to
  26         injunctive relief to stop the Outlaw Enterprise from continuing to perpetuate
  27         the scheme.
  28         (d)   The Stores’ claims are typical of the overarching “Store Class,” and of
                                                       AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  20
                                                                                    CLAIMS
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   1   each of the subclasses that each Store seeks to represent. Each Store has been
   2   injured by the same wrongful conduct of the Outlaw Enterprise and each of its
   3   members, and accordingly their claims arise from the same practices and conduct
   4   that gives rise to the claims of all of their fellow members;
   5         (e)    The Stores will fairly and adequately protect the interests of the classes
   6   and all of their members, in that they have no interests that are antagonistic to those
   7   of their fellow class members. The Stores have engaged counsel who have a depth
   8   of experience in both prosecuting and defending class action claims;
   9         (f)    A class action is superior to other available methods of adjudicating
  10   this dispute for at least the following reasons:
  11                (i)     Given the size of the individual class members’ claims and the
  12         expense of litigating those claims, few, if any, class members could afford to
  13         or would seek legal redress individually for the wrongs that the Outlaw
  14         Enterprise committed against them. Indeed, as alleged, that was precisely the
  15         enterprise’s purpose in first asserting “liability” of “over $100,000,” but then
  16         offering “settlements” for as little as $2,500—to make this shakedown too
  17         good of an offer to dispute in the courts;
  18                (ii)    Any pending litigation that exists against the class members is
  19         only in its initial stages, and to the Stores’ knowledge, no other class member
  20         has thus far brought its own claims against the Outlaw Enterprise or any of
  21         its members;
  22                (iii)   Concentrating these claims in this forum is desirable because
  23         there is no particular regional or jurisdictional interest in trying such claims
  24         in any other forum. Such concentration of all of the Outlaw Enterprise’s
  25         victims in this action will instead promote efficiency of the courts;
  26                (iv)    The Stores do not know of any difficulty in managing their
  27         claims as a class action, given the uniformity and consistency of the Outlaw
  28         Enterprise’s conduct as against each member of the classes.
                                                          AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  21
                                                                                       CLAIMS
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   1         73.    Sufficient information to provide notice to each class member can be
   2   accessed from the Outlaw Enterprise’s records. Indeed, the specific address of each
   3   member of the class is set forth at the top of each of the fraudulent demand letters.
   4                              FIRST CAUSE OF ACTION
   5
                         (Violation of the Racketeer Influenced Corrupt
                             Organizations Act, 18 U.S.C. § 1962(c))
   6
             74.    The Stores re-allege and incorporate by reference each of the
   7
       allegations contained in the paragraphs above as if fully set forth herein.
   8
             75.    Section 1962(c) provides in relevant part:
   9

  10                (c) It shall be unlawful for any person employed by or
                    associated with any enterprise engaged in, or the activities
  11                of which affect, interstate or foreign commerce, to conduct
  12                or participate, directly or indirectly, in the conduct of such
                    enterprise’s affairs through a pattern of racketeering
  13                activity . . . .
  14         76.    At all relevant times, Outlaw Laboratory, LP was a “person” under the
  15   meaning of 18 U.S.C. § 1961(3), because it is “capable of holding a legal or
  16   beneficial interest in property.” Outlaw Laboratory, LP was associated with the
  17   association-in-fact enterprise described herein as the “Outlaw Enterprise,” because
  18   it was the vehicle upon which the scheme to defraud predicated its legal threats.
  19   Outlaw Laboratory, LP conducted and participated in the affairs of that enterprise
  20   by allowing its name to be used in the fraudulent mailings that constitute the pattern
  21   of racketeering activity (per 18 U.S.C. § 1961(5)) at issue in this case, in violation
  22   of 18 U.S.C. § 1962(c).
  23         77.    Outlaw Laboratory, LP has committed or aided and abetted the
  24   commission of at least two acts of racketeering activity (i.e., mail fraud in violation
  25   of 18 U.S.C. § 1341) by assisting the other members of the Outlaw Enterprise in
  26   drafting and arranging for the mailing of the fraudulent demand letters by which the
  27   scheme to defraud was perpetrated. These acts of racketeering activity that Outlaw
  28
                                                       AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  22
                                                                                    CLAIMS
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   1   Laboratory, LP committed and/or conspired to, or aided and abetted in the
   2   commission of, were related to each other, and are ongoing, such that they pose the
   3   threat of continuing racketeering activity.
   4         78.    On information and belief, the Outlaw Laboratory partnership entity,
   5   through its principals Michael Wear and Sean Lynch, further participated in and
   6   conducted the affairs of the Outlaw Enterprise by assisting Tauler Smith LLP and
   7   Leticia Kimble in identifying and choosing the enterprise’s victims (i.e., the Stores
   8   and the members of the classes they seek to represent).
   9         79.    On information and belief, the Outlaw Laboratory partnership entity,
  10   through its principals Michael Wear and Sean Lynch, further participated in and
  11   conducted the affairs of the Outlaw Enterprise by determining the reservation prices
  12   of the scheme’s victims, at which point they would be more likely to cough up
  13   protection money than to retain counsel to defend their legal rights.
  14         80.    Outlaw Laboratory and the other members of the Outlaw Enterprise
  15   knowingly and intentionally made the misrepresentations, acts of concealment, and
  16   failures to disclose that constitute this scheme to defraud, and either knew or
  17   recklessly disregarded that the misrepresentations (such as the assertion that one
  18   “can see” from the FDA notifications that the challenged products are “illegal to
  19   sell and subject your company to legal action for racketeering . . . under RICO”)
  20   would be material to the victims of the scheme, and knew and intended that the
  21   Stores and all members of the classes would rely on the misrepresentations upon
  22   which the scheme is predicated.
  23         81.    Outlaw Laboratory and the other members of the Outlaw Enterprise
  24   have obtained money belonging to the Payment Class as a result of these violations.
  25   Outlaw Laboratory and the other members of the Outlaw Enterprise have further
  26   caused members of the Store Class, the Sued Stores Class, the Threatened Stores
  27   Class, and the Payment Class to lose money by causing those stores to remove the
  28   challenged products from their shelves, thereby losing sales and revenue from those
                                                          AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                     23
                                                                                       CLAIMS
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   1   products. In the absence of the Outlaw Enterprise scheme, none of the class
   2   members would have suffered these injuries. Accordingly, the Stores and all of the
   3   class members’ losses were directly and proximately caused by the Outlaw
   4   Enterprise, and the scheme to defraud alleged herein.
   5                            SECOND CAUSE OF ACTION
   6
                         (Violation of the Racketeer Influenced Corrupt
                             Organizations Act, 18 U.S.C. § 1962(d))
   7
             82.    The Stores re-allege and incorporate by reference each of the
   8
       allegations contained in the paragraphs above as if fully set forth herein.
   9
             83.    Section 1962(d) provides:
  10

  11                (d) It shall be unlawful for any person to conspire to violate
                    any of the provisions of subsection (a), (b), or (c) of this
  12                section.
  13         84.    At all relevant times, Outlaw Laboratory, LP was a “person” under the
  14   meaning of 18 U.S.C. § 1961(3), because it is “capable of holding a legal or
  15   beneficial interest in property.” Outlaw Laboratory, LP was associated with the
  16   association-in-fact enterprise described herein as the “Outlaw Enterprise,” because
  17   it was the vehicle upon which the scheme to defraud predicated its legal threats.
  18   Outlaw Laboratory, LP conspired with the other as-yet-unnamed members of the
  19   Outlaw Enterprise to violate subsection (c) of § 1962, through agreeing with those
  20   other members on the structure, purpose, and conduct of the Outlaw Enterprise, and
  21   by taking numerous overt acts in furtherance of the scheme to defraud, including
  22   drafting and/or approving the fraudulent demand letters, setting and/or approving
  23   the minimum amounts of protection money that the victims must pay, and by
  24   receiving the ill-gotten proceeds from the shakedown. On information and belief,
  25   Outlaw Laboratory, LP took additional overt acts in conformance with the
  26   conspiracy by hiring and/or directing the activities of the “investigators” who were
  27   tasked with identifying and selecting the victims of the racket, and/or by making
  28
                                                       AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  24
                                                                                    CLAIMS
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   1   payments to those “investigators” in furtherance of the scheme.
   2         85.    Outlaw Laboratory, LP’s fellow conspirators and members of the
   3   Outlaw Enterprise have committed or aided and abetted the commission of at least
   4   two acts of racketeering activity (i.e., mail fraud in violation of 18 U.S.C. § 1341)
   5   by drafting, signing, and mailing the fraudulent demand letters by which the
   6   scheme to defraud was perpetrated. These acts of racketeering activity were related
   7   to each other, and are ongoing, such that they pose the threat of continuing
   8   racketeering activity.
   9         86.    Outlaw Laboratory and the other members of the Outlaw Enterprise
  10   knowingly and intentionally agreed to make the misrepresentations, acts of
  11   concealment, and failures to disclose that constitute this scheme to defraud, and
  12   either knew or recklessly disregarded that the misrepresentations (such as the
  13   assertion that one “can see” from the FDA notifications that the challenged
  14   products are “illegal to sell and subject your company to legal action for
  15   racketeering . . . under RICO”) would be material to the victims of the scheme, and
  16   knew and intended that the Stores and all members of the classes would rely on the
  17   misrepresentations upon which the scheme is predicated.
  18         87.    Outlaw Laboratory and the other members of the Outlaw Enterprise
  19   have obtained money belonging to the Payment Class as a result of these violations.
  20   Outlaw Laboratory and the other members of the Outlaw Enterprise have further
  21   caused members of the Store Class, the Sued Stores Class, the Threatened Stores
  22   Class, and the Payment Class to lose money by causing those stores to remove the
  23   challenged products from their shelves, thereby losing sales and revenue from those
  24   products. In the absence of the Outlaw Enterprise scheme, none of the class
  25   members would have suffered these injuries. Accordingly, the Stores and all of the
  26   class members’ losses were directly and proximately caused by the Outlaw
  27   Enterprise, and by Outlaw Laboratory, LP’s agreement to conspire with the other
  28   members of the Outlaw Enterprise to perpetuate the scheme.
                                                       AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  25
                                                                                    CLAIMS
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   1                               THIRD CAUSE OF ACTION
   2
                                         (Rescission)

   3           88.   The Stores re-allege and incorporate by reference each of the
   4   allegations contained in the paragraphs above as if fully set forth herein.
   5           89.   Skyline Market hereby gives notice of its intention to rescind the
   6   “Confidential Settlement Agreement and Release” that it entered with Outlaw
   7   Laboratory, LP, and accordingly rescinds that agreement.
   8           90.   There are numerous sufficient grounds upon which Skyline Market is
   9   entitled to rescission of the agreement. At the time Skyline Market signed the
  10   agreement, it did so under duress, given that it had been threatened with liability of
  11   “over $100,000 if we prosecute this matter,” and was then presented with an offer
  12   to get out of that jam for a mere $2,800, or 2.8% of the asserted liability.
  13   Defending its legal rights would have cost Skyline Market hundreds of dollars per
  14   hour, such that the amount of the minimal demand would have been dwarfed before
  15   Skyline Market’s attorneys even showed up to the initial case management
  16   conference in the threatened action.
  17           91.   Skyline Market and the other members of the class it seeks to represent
  18   are also entitled to rescission and restitution of the benefits they conferred on the
  19   Outlaw Enterprise because at the time they entered the “Confidential Settlement
  20   Agreement and Release,” they did not know that their agreement had been
  21   predicated upon a scheme to defraud that was illegal ab initio, as set forth above,
  22   and in Counts 1 and 2. Accordingly, the agreements entered by Skyline Market and
  23   the members of the class it seeks to represent are now void and/or voidable, and
  24   those entities are entitled to a return of the amounts that were illegally taken from
  25   them.
  26                                 PRAYER FOR RELIEF
  27                 WHEREFORE, the Stores pray for judgment as follows:
  28           1.    For judgment against Outlaw Laboratory, LP;
                                                       AMENDED COUNTERCLAIMS / THIRD-PARTY
                                                  26
                                                                                    CLAIMS
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   1        2.    For compensatory and treble damages;
   2        3.    For rescission of the agreements entered into between Outlaw
   3              Laboratory, LP and Skyline Market and the other members of the
   4              Payment Class;
   5        4.    For restitution to Skyline Market and the other members of the
   6              Payment Class of the benefits they conferred upon Outlaw Laboratory,
   7              LP and the other members of the Outlaw Enterprise;
   8        5.    For preliminary and permanent injunctive relief dissolving the Outlaw
   9              Enterprise, and ordering Outlaw Laboratory, LP not to engage in any
  10              further such schemes;
  11        6.    For attorneys’ fees;
  12        7.    For costs; and
  13        8.    For such other and further relief as the Court deems just and proper.
  14

  15     Dated: November 30, 2018                   GAW | POE LLP
  16

  17                                                By:
                                                          Mark Poe
  18                                                      Attorneys for Roma Mikha, Inc.,
  19                                                      NMRM, Inc. and Skyline Market,
                                                          Inc.
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                                                      AMENDED COUNTERCLAIMS / THIRD-PARTY
                                               27
                                                                                   CLAIMS
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   1                            CERTIFICATE OF SERVICE
   2                           Case No. 3:18-cv-1882-GPC-BGS
   3         I HEREBY CERTIFY that on November 30, 2018, I filed the following
   4   documents with the Clerk of the Court using CM/ECF. I also certify that the
   5   foregoing document is being served this day either by Notice of Electronic Filing
   6   generated by CM/ECF or by U.S. mail on all counsel of record entitled to receive
   7   service.
   8
             AMENDED COUNTERCLAIMS OF ROMA MIKHA, INC. AND
   9
             THIRD-PARTY CLAIMS OF NMRM, INC. AND SKYLINE
  10         MARKET, INC.
  11         EXHIBIT A (DEMAND LETTER)
  12         EXHIBIT B (NEGATIVE FDA LAB RESULT)
  13

  14                                                 GAW | POE LLP
  15

  16                                                 By:
  17
                                                           Mark Poe
                                                           Attorneys for Roma Mikha, Inc.,
  18
                                                           NMRM, Inc., and Skyline Market,
                                                           Inc.
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